Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-19 Filed04/28/17
                                309-5 Filed 06/12/17 Page
                                                     Page11of
                                                            of14
                                                               14




                 EXHIBIT 5
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-19 Filed04/28/17
                                309-5 Filed 06/12/17 Page
                                                     Page22of
                                                            of14
                                                               14




               DIRECTED ENERGY, INC.
                      PCO-7110
              Laser Diode Driver Module

                         INSTALLATION
                              and
                           OPERATION
                             NOTES




                               Directed Energy, Inc.
                               An IXYS Company
                               2401 Research Blvd. Suite 108
                               Fort Collins, CO. 80526
                               TEL: 970-493-1901
                               FAX: 970-493-1903
                               EMAIL: deiinfo@directedenergy.com
                               WEB: www.directedenergy.com
                               Doc #9100-0214 Rev 4
   Case
   Case3:17-cv-00939-WHA
        3:17-cv-00939-WHA Document
                          Document589-19 Filed04/28/17
                                   309-5 Filed 06/12/17 Page
                                                        Page33of
                                                               of14
                                                                  14




Table of Contents
Introduction ........................................................................................................2
Design Considerations.......................................................................................3
Circuit Operation ................................................................................................4
        Current Measurement .............................................................................7
Specifications.....................................................................................................9
        Mechanical Specifications.......................................................................10
        Typical Output Waveforms......................................................................11
Warranty ............................................................................................................11




                                                        Doc #9100-0214 Rev 4  Directed Energy Inc. 2000
                                                                                                 Page 1
  Case
  Case3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document589-19 Filed04/28/17
                                  309-5 Filed 06/12/17 Page
                                                       Page44of
                                                              of14
                                                                 14




Introduction
The PCO-7110 is a compact, economical OEM pulsed laser diode driver module.
It is designed to provide extremely fast, high current pulses to drive laser diodes
in range finder, LIDAR, atmospheric communications and other applications
requiring high current, nanosecond pulses.
Six standard models are offered in the PCO-7110 product line, providing pulse
currents ranging from 4A to 120A, and pulse widths from 4 nanoseconds to 65
nanoseconds, at frequencies as high as 50KHz. The PCO-7110 is designed to
be an Original Equipment Manufacturer (OEM) style product in which the current
pulse may be easily tailored to the diode type and application – contact DEI for
more information.
Mounting pads are provided to mount the laser diode directly to the driver. The
four-hole mounting pattern accepts TO-18, TO-5, TO-52, 5.6MM, and 9MM
packages (EG&G Optoelectronics R, S, T and U packages), as well as other
packages of similar dimensions and lead spacing, mounted perpendicular to the
driver circuit board. To facilitate different packages and mounting preferences,
there are two solder pads on the end of the board to accept various laser diode
packages mounted on axis to the driver. Furthermore, the diode can be
connected remotely from the driver using a low-impedance stripline
interconnection between the mounting pads and the leads of the laser diode.
A current monitor output may be viewed with an oscilloscope, providing a
straightforward means to observe the diode current waveform in real-time.

The design is inherently temporally stable with large variations in ambient
temperature and equally rugged with respect to mechanical parameters.




                                      Doc #9100-0214 Rev 4  Directed Energy Inc. 2000
                                                                               Page 2
  Case
  Case3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document589-19 Filed04/28/17
                                  309-5 Filed 06/12/17 Page
                                                       Page55of
                                                              of14
                                                                 14




Design Considerations
Many elements and stray components may affect the PCO-7110 performance.
One of the most important, which affects the performance greatly, is stray
inductance. This is a combination of the output current loop’s circuit elements
and the physical inductance of that loop. The magnitude of this inductance has
a great effect on the pulse width and the peak output current. The PCO-7110
design minimizes the stray inductance of the circuit components to
approximately 2nH. However, the laser diode that it will drive and the means by
which the diode is connected to the PCO-7110 also contribute to the stray
inductance. This additional inductance, which is added to the system and will
affect the output, is something that the user can minimize by appropriate diode
package choice and interconnections between the diode and driver.
Table 1 lists several laser diode package types and their Equivalent Series
Inductance (ESL). Although many of the laser diode packages have the
appearance of a good low inductance design, they are not. For example, the 8-
32 STUD (line # 2) from all outward appearances is a low inductance package,
however it has one of the largest ESL's of the devices listed. As shown in Table
1, this leaves the laser diode as the largest contributor of the total inductance.

          #                  PACKAGE STYLE                                PACKAGE
                                                                        INDUCTANCE
          1                                                                15.7nH
                                           Dip 14 Leads out top
          2                                                                 12nH
                                             8-32 STUD
          3                                                                 11nH
                                            10-32 STUD
          4                                 TO-5 (2 lead)                   9.6nH

          5                                TO-52                            6.8nH

          6                                                                 6.4nH
                                           Long Horn 14 Pin

          7                                 CD9mm                           5.2nH
                                    .060 Hight
          8                  .200          .014 lead diameter               5.0nH
                        KOVAR Gold Plate

                                    .060 Hight
          9                  .200          .014 lead diameter               3.6nH
                           COPPER

                                    .039 Hight
          10                 .078          .014 lead diameter              1.56nH
                           COPPER

                                     Table 1
                      Package Style Vs Package Inductance




                                                 Doc #9100-0214 Rev 4  Directed Energy Inc. 2000
                                                                                          Page 3
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-19 Filed04/28/17
                                309-5 Filed 06/12/17 Page
                                                     Page66of
                                                            of14
                                                               14
   Case
   Case3:17-cv-00939-WHA
        3:17-cv-00939-WHA Document
                          Document589-19 Filed04/28/17
                                   309-5 Filed 06/12/17 Page
                                                        Page77of
                                                               of14
                                                                  14




 average current that the high voltage supply must provide is determined by the
 pulse recurrence frequency required for the user’s application.
 Equation 1 has been derived in order to approximate (±20%) the current
 requirement (IPS) of the high voltage power supply. It is a function of the total
 input capacitance (the Pulse Forming Network CPFN, the FET capacitance CFET,
 and the stray CSTRAY), the high voltage input (VIN), and the frequency of each
 application (f).
                            1. I PS = (C PFN + C FET + C STRAY ) ∗ VIN ∗ f ,
 where the various capacitances are given in Table 3.
 PCO-7110 MODEL 40-4                         50-15              100-7      120-15          90-30     45-65
      CPFN      1100pF                      4000pF             1100pF      4080pF         10800pF   7000pF

          CFET               120pF          120pF              150pF       150pF          150pF     450pF

         CSTRAY              200pF          430pF              550pF       600pF          100pF     100pF

                       Table 3. CPFN values of the different PCO-7110 models
 The output current of the PCO-7110 is adjusted by varying the applied voltage
 (VIN). The output current depends upon the available charge of the CPFN. This
 charge is directly proportional to the applied voltage. Therefore, varying the
 applied voltage will cause the output current to vary respectively. If the PCO-
 7110 driver is operated at less than maximum output current, the maximum DC
 input voltage specified may not be required.
             HV IN



          R1
CHARGE RESISTOR       C       R       CLAMPING DIODES


                     PFN      PFN            D2           D1      CATHODE (NEG)       0
                                                                       D3
                                                                  LASER DIODE


                                                  ELECTRON FLOW
                                      J1
                                      3
                                      2
                                      1                                           -VOUT
                                                    R
                                                    CVR
                              CVR MONITOR



                     Figure 2. Equivalent Circuit Diagram and Output Waveform
 Figure 2 is the equivalent circuit diagram of the PCO-7110. It shows the location
 of the CPFN mentioned previously and the location of the laser diode in respect to
 the entire circuit. When monitoring the output waveform through J1, the
 waveform should approximate the one in Figure 2. For more details about

                                                   Doc #9100-0214 Rev 4  Directed Energy Inc. 2000
                                                                                            Page 5
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-19 Filed04/28/17
                                309-5 Filed 06/12/17 Page
                                                     Page88of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-19 Filed04/28/17
                                309-5 Filed 06/12/17 Page
                                                     Page99of
                                                            of14
                                                               14
 Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                        Document589-19 Filed04/28/17
                                 309-5 Filed 06/12/17 Page
                                                      Page10
                                                           10of
                                                             of14
                                                                14




DEI provides an optional cable assembly (Part Number PCA-9140) with
connectors to connect the current monitor output J1 to an oscilloscope input.
This assembly is an RG-316 coax with a series termination of 50 Ohms at the
CVR end, and a BNC connector on the other end. This in combination with the
50 Ohm terminator at the oscilloscope end will cause the above formula to
become:
                                             V
                                3. I LD = 2 * CVR ,
                                             RCVR
The series termination eliminates any current signal reflections. Using the DEI
CVR monitor cable, because of the series 50 Ohm termination, the current
monitor becomes 10A = 500mV from 10A = 1V.




                                     Doc #9100-0214 Rev 4  Directed Energy Inc. 2000
                                                                              Page 8
  Case
  Case3:17-cv-00939-WHA
       3:17-cv-00939-WHA Document
                         Document589-19 Filed04/28/17
                                  309-5 Filed 06/12/17 Page
                                                       Page11
                                                            11of
                                                              of14
                                                                 14




Specifications
The specifications in Table 4 below are for the six standard models. For OEM
applications, the PCO-7110 can be configured to specific pulse width and output
current levels to meet individual customer requirements - contact DEI for more
information.
SPECIFICATIONS
PCO-7110 MODEL                                           40-4       50-15       100-7        120-15   90-30     45-65
Pulse Output Current Range (Controlled by input high 4A to 40A 5A to 50A    5A to     5A to    5A to 4A to 45A
voltage amplitude)                                                         100A*     120A*      95A*
Maximum DC Input Voltage                                     +195V               +495V         +400V     +495V
Pulse Width (FWHM at maximum output current)           4ns ±1ns 15ns ±2ns 7ns ±1ns 15ns ±2ns 30ns ±3ns 65ns ±3ns
Rise Time (10% - 90%, Typical)                       <2ns           2.5ns       2.5ns         2.5ns    <3ns      35ns
Maximum PRF (Pulse Recurrence Frequency), CW at 50KHZ              11KHz       5KHz**         2KHz    1KHz      1.5KHz
maximum output current, controlled by input trigger
Maximum Duty Cycle (CW at maximum output            0.02%         0.0165% 0.0035%           0.003%    0.003%    0.01%
current)
Jitter (1st Sigma)                                                               <1ns                            <2ns
Throughput Delay (Delay from input trigger to output                         33ns Typical                      55ns Typ.
pulse)
Maximum Overshoot at maximum output current                                             5%
Output Current Monitor                                                        10A/V into 50 Ohms
Trigger In                                                             +5V/50Ω, 50-100ns pulse width
Support Power                                                                     +15V at 2mA
MECHANICAL
Length                                                                          2.45 in. (62.2mm)
Width                                                                           1.0 in. (25.4mm)

Height                                                                      0.3 in. (7.5mm)                      0.5 in.
                                                                                                               (12.7mm)
Weight (Approximate)                                        10 grams                     12 grams              14 grams
                                                                                    o          o
Operating Temperature                                                            -20 C to+85 C
ALL SPECIFICATIONS MEASURED INTO A SHORTED OUTPUT AND MEASURED WITH THE INTERNAL CURRENT MONITOR
SPECIFICATIONS SUBJECT TO CHANGE WITHOUT NOTICE • LASER DIODE NOT INCLUDED
* Maximum output current must be derated by 15% at operating temperatures above 60oC
** Maximum current must be limited to 90A at frequencies above 2.5KHz.



                                                 Table 4
                                      PCO-7110 Specifications




                                                   Doc #9100-0214 Rev 4  Directed Energy Inc. 2000
                                                                                            Page 9
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-19 Filed04/28/17
                                309-5 Filed 06/12/17 Page
                                                     Page12
                                                          12of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-19 Filed04/28/17
                                309-5 Filed 06/12/17 Page
                                                     Page13
                                                          13of
                                                            of14
                                                               14
 Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                        Document589-19 Filed04/28/17
                                 309-5 Filed 06/12/17 Page
                                                      Page14
                                                           14of
                                                             of14
                                                                14




This Warranty shall not apply to any product that has been:
1. Repaired, worked on, or altered by persons unauthorized by DEI;
2. Subjected to misuse, neglect, or damage by others; or
3. Connected, installed, adjusted, or used in a manner not authorized in the
   instructions or specifications furnished by DEI.
This warranty is the purchaser's sole remedy for claimed defects in the
equipment sold or manufactured by DEI. DEI's liability to the purchaser is limited
to the repair or replacement of the claimed defective equipment or, at DEI's
option, refund of the purchase price, taxes and transportation charges incurred
by the purchaser. DEI will not be responsible for or liable to the purchaser for
consequential losses or damages asserted to be attributable to a claimed defect
in the equipment provided.
Changes made by DEI in the design or manufacture of similar equipment which
are effected subsequent to the date of shipment of the warranted equipment to
the purchaser are reflective of DEI's program of constant product development
and improvement and shall not be construed as an acknowledgement of
deficiency in the product shipped to purchaser. DEI will be under no obligation to
make any changes to product previously shipped.




                                      Doc #9100-0214 Rev 4  Directed Energy Inc. 2000
                                                                              Page 12
